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 5
                                                                CLERK U.S. BANKRUPTCY COURT
                                                                Central District of California
 6   Bankruptcy Counsel to Shahan Ohanessian and                BY kaaumoanDEPUTY CLERK
     Shoushana Ohanessian
 7

 8                        UNITED STATES BANKRUPTCY COURT
 9           CENTRAL DISTRICT OF CALIFORNIA – LOS ANGELES DIVISION
10

11
     In re                                        Lead Case No.: 2:19-bk-14989-WB

12   SCOOBEEZ,                                    Jointly Administered With:
     SCOOBEEZ GLOBAL INC.,                        Case No.: 2:19-bk-14991-WB
13   SCOOBUR LLC,                                 Case No.: 2:19-bk-14997-WB
14                 Debtors.                       Chapter 11
15
                                                  ORDER APPROVING IN PART THE
16   This pleading affects:                       MOTION OF SHOUSHANA
17   All Debtors                          ☐       OHANESSIAN FOR ALLOWANCE AND
                                                  PAYMENT OF ADMINISTRATIVE
18   SCOOBEEZ;                                    EXPENSE CLAIM
     SCOOBEEZ GLOBAL, INC.,;
19
     SCOOBUR LLC.
                                                  Date: 1/23/2020
20
                                                  Time: 10:00 a.m.
21                                                Place: Courtroom 1375
                                                         255 E. Temple St., Los Angeles, CA
22

23           The hearing on the Motion for Allowance and Payment of Administrative Expense
24   Claim filed by Shoushana Ohanessian (the “Motion”) came on regularly for hearing at the
25   above date and time in the above captioned courtroom (the “Courtroom”), appearances
26   were made as noted on the record, the Honorable Julia Brand, United States Bankruptcy
27   Judge (the “Court”) presiding. The Court, having considered the evidence and pleadings
28   filed in support and in opposition to the Motion, argument at the time of hearing, and any
                                                                         ORDER ON MOTION FOR
                                                                        ADMINISTRATIVE CLAIM
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 1   and all matters of which the Court can and did take judicial notice, finding that notice of
 2   the Motion was proper and good cause appearing therefore, hereby orders as follows:
 3          1.     To the extent that sufficient cash collateral (as that term is defined in 11
 4                 U.S.C. §363(a) and may be further defined in the applicable cash collateral

 5                 order(s) entered in the above captioned jointly administered bankruptcy

 6                 cases (collectively, the “Bankruptcy Cases”) (“Cash Collateral”)) is

 7                 available in any budget approved by this Court for the category and

 8                 period(s) to which each such administrative expense expenditure relates

 9                 retrospectively from April 30, 2019, forward, the above captioned debtors
                   and debtors-in-possession (collectively, the “Debtors”) are hereby
10
                   authorized to make a payment in the amount of twenty thousand dollars and
11
                   zero cents ($20,000.00) (the “Payment”) to Shoushana Ohanessian (“Ms.
12
                   Ohanessian”) in satisfaction of the portion of the Motion seeking
13
                   reimbursement for certain hotel expenditures incurred by Ms. Ohanessian
14
                   following the commencement of the Bankruptcy Cases. ,
15
            2.     The Payment shall be made without waiver of or prejudice to any rights or
16
                   remedies of the Debtors or Hillair Capital Management, LLC to dispute the
17
                   characterization, necessity and/or amount of the remaining balance of the
18
                   administrative claim sought by and through the Motion, which remaining
19
                   balance shall be thirty two thousand three hundred forty-nine dollars and
20
                   sixty seven cents ($32,349.67) once the Payment is made (the “Asserted
21
                   Claim Balance”) and is without waiver of or prejudice to the ability of Ms.
22
                   Ohanessian to seek allowance and payment of any claim she believes to be
23
                   entitled to administrative priority, whether referenced in the Motion or
24                 otherwise
25          3.     A continued hearing on the Motion shall be heard in the Courtroom on April
26                 9, 2020, at 10:00 a.m. In the interim, the Debtors and Ms. Ohanessian shall
27

28
                                                                           ORDER ON MOTION FOR
                                                  2                       ADMINISTRATIVE CLAIM
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 1                   attempt to resolve (informally and/or formally, to the extent necessary and
 2                   appropriate) the Asserted Claim Balance.
 3
                     IT IS SO ORDERED
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24   Date: February 4, 2020

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                                                                          ORDER ON MOTION FOR
                                                   3                     ADMINISTRATIVE CLAIM
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 1

 2   APPROVED AS TO FORM:

 3
      Dated:                                 JEFFREY S. SHINBROT, APLC
 4

 5
                                             By:
 6                                                 Jeffrey S. Shinbrot, Esquire
                                                   Counsel to Shahan Ohanessian and
 7                                                 Shoushana Ohanessian
 8

 9   Dated:                                 BUCHALTER, a Professional Corporation
10

11                                          By:
                                                  Steven M. Spector, Esquire
12                                                Anthony J. Napolitano, Esquire
                                                  Attorneys for Secured Creditor
13                                                Hillair Capital Management, LLC
14

15   Dated :                                FOLEY & LARDNER LLP
16

17                                          By:
18                                                Ashley McDow, Esquire
                                                  Attorneys for Debtors and Debtors-in-
19                                                Possession
                                                  SCOOBEEZ, SCOOBEEZ GLOBAL, INC.,
20                                                and SCOOBUR, LLC

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                                                                    ORDER ON MOTION FOR
                                                                   ADMINISTRATIVE CLAIM
